            Case 2:25-cv-00255-JNW          Document 86         Filed 04/03/25       Page 1 of 2




 1                                                    THE HONORABLE JAMAL N. WHITEHEAD

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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9    PLAINTIFF PACITO; PLAINTIFF ESTHER;                   Case No. 2:25-cv-255-JNW
      PLAINTIFF JOSEPHINE; PLAINTIFF SARA;
10    PLAINTIFF ALYAS; PLAINTIFF MARCOS;                    DECLARATION OF JONATHAN P.
      PLAINTIFF AHMED; PLAINTIFF RACHEL;                    HAWLEY IN OPPOSITION TO
11    PLAINTIFF ALI; HIAS, INC.; CHURCH                     DEFENDANTS’ MOTION TO
      WORLD SERVICE, INC.; and LUTHERAN                     STAY PRELIMINARY
12    COMMUNITY SERVICES NORTHWEST,                         INJUNCTION PENDING APPEAL
13
                           Plaintiffs,
14
                    v.
15
      DONALD J. TRUMP, in his official capacity as
16    President of the United States; MARCO RUBIO,
      in his official capacity as Secretary of State;
17    KRISTI NOEM, in her official capacity as
18    Secretary of Homeland Security; ROBERT F.
      KENNEDY, JR., in his official capacity as
19    Secretary of Health and Human Services,

20                         Defendants.

21

22          I, Jonathan P. Hawley, hereby declare as follows:

23          1.      I am over the age of eighteen and competent to make this declaration. I am an

24   attorney with the law firm Perkins Coie LLP and counsel for Plaintiffs in the above-captioned

25   matter. I make this declaration based on personal knowledge about which I am competent to testify.

26

     DECL. OF JONATHAN P. HAWLEY                                              Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
     (No. 2:25-cv-255-JNW)                                             Seattle, Washington 98101-3099
                                                                           Phone: +1.206.359.8000
                                                                             Fax: +1.206.359.9000
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 1             2.     I submit this declaration to provide the Court true and correct copies of certain

 2   documents submitted in opposition to Defendants’ motion to stay preliminary injunction pending

 3   appeal:

 4             Exhibit 1 is a true and correct copy of a letter to Plaintiff Church World Service, Inc. from

 5   the U.S. State Department’s Bureau of Population, Refugees, and Migration, dated April 2, 2025.

 6             Exhibit 2 is a true and correct copy of a letter to Plaintiff HIAS, Inc. from the U.S. State

 7   Department’s Bureau of Population, Refugees, and Migration, dated April 2, 2025.

 8                                               ⁎      ⁎       ⁎

 9             I declare under penalty of perjury under the laws of the United States that the foregoing is

10   true and correct.

11             EXECUTED this 3rd day of April, 2025, at Seattle, Washington.
12
                                                             s/ Jonathan P. Hawley
13                                                           Jonathan P. Hawley

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     DECL. OF JONATHAN P. HAWLEY – 2                                              Perkins Coie LLP
                                                                           1201 Third Avenue, Suite 4900
     (No. 2:25-cv-255-JNW)                                                 Seattle, Washington 98101-3099
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